8:09-cr-00272-JFB-FG3          Doc # 142     Filed: 04/21/10     Page 1 of 1 - Page ID # 539




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )      8:09CR272
                                             )
                      vs.                    )      ORDER OF COURT
                                             )      TO DISMISS COUNTS IV and V
SHANNON B. JACKSON, et al.,                  )      OF INDICTMENT
                                             )
                      Defendant.             )

       IT IS ORDERED, pursuant to Federal Rule of Criminal Procedure 48(a), leave of Court

is granted for the dismissal without prejudice of Counts IV and V of the Indictment pursuant to

Motion of the United States.

       DATED this 21st day of April, 2010.

                                             BY THE COURT:


                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Court Judge
